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6                         UNITED STATES DISTRICT COURT
7                        CENTRAL DISTRICT OF CALIFORNIA
8
     COMMODITY FUTURES                            )
9                                                 ) Case No. CV 18-3991 DMG (AFMx)
     TRADING COMMISSION,                          )
10                                                )
                            Plaintiff,            )
11                                                ) JUDGMENT
                v.                                )
12                                                )
                                                  )
13   JIN CHOI, ET AL.,                            )
                                                  )
14                                                )
                            Defendants.           )
15                                                )
                                                  )
16
17
          The Court having granted Plaintiff’s motion for default judgment [Doc. # 27] on
18
     March 5, 2018,
19
20
          IT IS ORDERED, ADJUDGED AND DECREED that
21
22        1. Judgment shall be entered in favor of Plaintiff U.S. Commodity Futures
23           Trading Commission and against Defendants Jin Choi, Apuro Holdings,
24           Ltd. (d/b/a ApuroFX), and JCI Holdings USA (d/b/a JCI Trading Group,
25           LLC) (collectively, “Defendants”).
26
         2. Defendants are permanently restrained from:
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1                    a. engaging in conduct that violates 7 U.S.C. §§ 2(c)(2)(C)(iii)(I)(aa),
2                       (bb), 6b(a)(2)(A), (C), 6k(3), 6m(1), 6o(1)(A), (B) (2012), and 17
3                       C.F.R. §§ 5.3(a)(3)(i), 5.3(a)(3)(ii) (2018);
4
                     b. trading on or subject to the rules of any registered entity (as that
5
                        term is defined in 7 U.S.C. § la(40) (2012));
6
7                    c. entering into any transaction involving “commodity interests” (as
8                       that term is defined in 17 C.F.R. § 1.3(yy) (2018)) for their own
9                       personal account or for any account in which they have a direct or
10                      indirect interest;
11
                     d. having any commodity interests traded on their behalf;
12
13                   e. controlling or directing trading on or behalf of any other person or
14                      entity, whether by power of attorney or otherwise, in any account
15                      involving commodity interests;
16
                     f. soliciting, receiving, or accepting any funds from any person for
17
                        the purpose of purchasing or selling any commodity interests;
18
19                   g. applying for registration or claiming exemption from registration
20                      with the CFTC1 in any capacity, and engaging in any activity
21                      requiring registration or exemption from registration with the
22                      CFTC, except as provided for in 17 C.F.R. § 4.14(a)(9) (2018);
23
                     h. acting as a principal (as that term is defined in 17 C.F.R. § 3.1(a)
24
                        (2018)), agent, or any other officer or employee of any person
25
26                      registered, exempted from registration, or required to be registered

27
28   1
         “CFTC” or “Commission” refers to the U.S. Commodity Futures Trading Commission.



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1                 with the CFTC except as provided for in 17 C.F.R. § 4.14(a)(9)
2                 (2018); and
3
               i. engaging in any business activities related to commodity interests.
4
5        3.    Defendants are ordered to pay, on a joint and several basis, restitution
6              in the amount of $1,121,672 (one million one hundred twenty-one
7              thousand six hundred seventy-two dollars), plus post-judgment
8              interest thereon (the “Restitution Obligation”). Post-judgment interest
9              shall accrue beginning on the date of entry of this Order and shall be
10             determined pursuant to 28 U.S.C. § 1961 (2012).
11
               a. The Court appoints the National Futures Association (“NFA”) as
12
                  Monitor to distribute payments made against the Restitution
13
                  Obligation to Defendants’ clients.      The Monitor shall collect
14
                  restitution payments from Defendants and make distributions as set
15
                  forth below. Because the Monitor is acting as an officer of this
16
                  Court in performing these services, NFA shall not be liable for any
17
                  action or inaction arising from NFA’s appointment as Monitor,
18
                  other than actions involving fraud.
19
20             b. Defendants shall make Restitution Obligation payments under this
21                Order to the Monitor in the name “Jin Choi Restitution Fund” and
22                shall send such payments by electronic funds transfer, or by U.S.
23                postal money order, certified check, bank cashier’s check, or bank
24                money order, to the Office of Administration, National Futures
25                Association, 300 South Riverside Plaza, Suite 1800, Chicago,
26                Illinois 60606, accompanied by a cover letter identifying
27                Defendants and the name and docket number of this proceeding.
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1                 Defendants shall simultaneously transmit copies of the cover letter
2                 and the form of payment to the Chief Financial Officer,
3                 Commodity 21 Futures Trading Commission, Three Lafayette
4                 Centre, 1155 21st Street, N.W., Washington, D.C. 20581.
5
               c. The Monitor shall oversee the Restitution Obligation and shall
6
                  have the discretion to determine the manner of distribution of such
7
                  funds in an equitable fashion to Defendants’ clients identified by
8
                  the CFTC, or may defer distribution until such time as the Monitor
9
                  deems appropriate. In the event that the amount of Restitution
10
                  Obligation payments to the Monitor are of a de minimis nature
11
                  such that the Monitor determines that the administrative cost of
12
                  making a distribution to eligible clients is impractical, the Monitor
13
                  may, in its discretion, treat such restitution payments as civil
14
                  monetary penalty payments, which the Monitor shall forward to
15
                  the CFTC pursuant to the instructions for civil monetary penalty
16
                  payments set forth below.
17
18             d. Defendants shall cooperate with the Monitor as appropriate to
19                provide such information as the Monitor deems necessary and
20                appropriate to identify Defendants’ clients to whom the Monitor, in
21                its sole discretion, may determine to include in any plan for
22                distribution of any Restitution Obligation payments. Defendants
23                shall execute any documents necessary to release funds that they
24                hold in any repository, bank, investment, or other financial
25                institution, wherever located, in order to make partial or total
26                payment toward the Restitution Obligation.
27
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1              e. The Monitor shall provide the CFTC at the beginning of each
2                 calendar year with a report detailing the disbursement of funds to
3                 Defendants’ clients during the previous year. The Monitor shall
4                 transmit this report accompanied by a cover letter identifying the
5                 name and docket number of this proceeding to the Chief Financial
6                 Officer, Commodity Futures Trading Commission, Three Lafayette
7                 Centre, 1155 21st Street, N.W., Washington, D.C. 20581.
8
               f. The amounts payable to each client shall not limit the ability of any
9
                  client to prove that a greater amount is owed from Defendants or
10
                  any other person or entity, and nothing herein shall be construed in
11
                  any way to limit or abridge the rights of any client that exist under
12
                  state or common law.
13
14             g. Pursuant to Federal Rule of Civil Procedure 71, each client of
15                Defendants who suffered a loss is explicitly made an intended
16                third-party beneficiary of this Order and may seek to enforce this
17                Order to obtain satisfaction of any portion of the Restitution
18                Obligation that has not been paid by Defendants, to ensure
19                continued compliance with any provision of this Order, and to hold
20                Defendants in contempt for any violations of any provision of this
21                Order.
22
               h. To the extent that any funds accrue to the U.S. Treasury for
23
                  satisfaction of the Restitution Obligation, such funds shall be
24
                  transferred to the Monitor for disbursement in accordance with the
25
                  procedures set forth above.
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1        4. Defendants are ordered to pay, on a joint and several basis, a civil
2           monetary penalty in the amount of $1,121,672 (one million one hundred
3           twenty-one thousand six hundred seventy-two dollars), plus post-
4           judgment interest thereon (“CMP Obligation”). Post-judgment interest
5           shall accrue on the CMP Obligation beginning on the date of entry of this
6           Order and shall be determined pursuant to 28 U.S.C. § 1961 (2012).
7
               a. Defendants shall pay the CMP Obligation by electronic funds
8
                  transfer, U.S. postal money order, certified check, bank cashier’s
9
                  check, or bank money order. If payment is to be made other than
10
                  by electronic funds transfer, then the payment shall be made
11
                  payable to the Commodity Futures Trading Commission and sent
12
                  to the address below:
13
14                   MMAC/ESC/AMK326
15                   Commodity Futures Trading Commission
16                   Division of Enforcement
17                   6500 S. MacArthur Blvd.
18                   Oklahoma City, OK 73169
19                   (405) 954-6569 Office
20                   (405) 954-1620 Fax

21                   9-AMC-AR-CFTC@faa.gov

22             b. If payment by electronic funds transfer is chosen, Defendants shall
23                contact Marie Throne or her successor at the address above to
24                receive payment instructions and shall fully comply with those
25                instructions. Defendants shall accompany payment of the CMP
26                Obligation with a cover letter identifying Defendant and the name
27                and docket number of this proceeding.            Defendants shall
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1                 simultaneously transmit copies of the cover letter and the form of
2                 payment to the Chief Financial Officer, Commodity Futures
3                 Trading Commission, Three Lafayette Centre, 1155 21st Street,
4                 N.W., Washington, D.C. 20581.
5
6
     DATED: March 5, 2019
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8                                                         DOLLY M. GEE
                                                  UNITED STATES DISTRICT JUDGE
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